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UNITED STATES DISTRICT COURT

" Case”2:03-cr-00059"WGB' Document 14 Filed 01/28/03 Pageé’t of O°PagatB: 22 "-°*

FILED

DISTRICT OF NEW JERSEY JAN 28 9003
AtB:30.........,, TA
_ WILLIAM T. WALSH
UNITED STATES OF AMERICA Mag./Crim. No. ©3 CR SF CLERK .

APPLICATION FOR PERMISSION
Vv. TO ENTER PLEA OF GUILTY

Gvelyw RQ vete (Defendant with Counsel)

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(Waiver of Indictment)
(Guidelines)

, hereby certifies as follows:

(Defendant's Name)

1.

. t -
My full name is é velyn Marcatat (wer and I
request that all proceedings against me be held in that name.

YI understand that the Constitution and laws of the United
States guarantee me the right to be represented by a lawyer
at every stage in these proceedings, including any trial on
these charges, and that if I cannot afford to hire a lawyer,
the Court will provide one for me.

I have a lawyer who is representing me in, this proceeding. My
lawyer's name is Paul crcl Khicid . . am
satisfied that I have had enough time to discuss this matter
with my lawyer.

My date of birth is do | 4} . I fam) [{asmepeprr]
married and I have oy children.

English [{is) [sme my native language. My formal
education stopped after [grade] “) . I am presently

{unemployed} [ex=eaeer] as a

foccupation]

I have taken {no) [deg~fetbeuetezF] drugs or medication within
the past twenty-four hours:

Il {aeae) [have never] been a patient in a mental hospital or
institution. 1 BH {do not] believe that at the present
time I am mentally ill or mentally incompetent in any
respect.
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8. I received a copy of the Complaint/Indictment/Information
before being called upon to plead. I have read and discussed
it with my lawyer. I understand that the substance of the
charge(s) against me is that I:)

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, }

[add separate sheets if necessary]

WAIVER OF INDICTMENT (IF APPLICABLE)

9. My lawyer has explained to me that I have a constitutional
right to be charged by an indictment of a grand jury but that
I can waive that right and consent to being charged through
a criminal Information filed by the United States Attorney.

10. I understand that unless I waive indictment I may not be
charged with a felony unless a grand jury finds by return of
an indictment that there is probable cause to believe that a
crime has been committed and that I committed it.

11. I also understand that if I do not waive indictment, the
government may present the case to the grand jury and request
the grand jury to indict me.

12. I understand that a grand jury is composed of at least 16 and
not more than 23 persons, that at least 12 grand jurors must
find that there is probable cause to believe that I committed
the crime. I also understand that the grand jury may or may
not indict me.

13. I further understand that by waiving indictment by the grand
jury, the case will proceed against me on the United States
Attorney's Information as though I had been indicted.

14. My attorney has discussed the nature of the charges(gs)
against me and waiving my right to indictment thereon by
Grand jury, I fully understand those rights, and I wish to
waive indictment by grand jury.

15. My decision to waive indictment by grand jury is made
knowingly and voluntarily, and no threats or promises have
been made to induce me to waive indictment.
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THE GUILTY PLEA

16. I have told my lawyer all the facts and circumstances known
to me about the charge (s) set forth in the
Complaint/Indictment/Information.

17. T am satisfied that my lawyer understands the information
which I have provided, and that my lawyer has counselled and
advised me on the nature of each charge and on all possible
defenses that I might have in this case.

18. In addition, my lawyer has explained to me, and I understand,
that if I entered a plea of NOT GUILTY (or persisted in my
plea of NOT GUILTY), under the Constitution and laws of the
United States I would be entitled to a speedy and public
trial by a jury of twelve persons on the charge(s) contained
in this Complaint/Indictment/Information.

19. My lawyer has explained to me, and I understand, that at such
a trial the jury would be told by the judge that I am
presumed to be innocent, and that the Government would be
required to prove me guilty of the charge(s) against me
beyond a reasonable doubt. I understand that I would not
have to prove that I am innocent, and that I could not be
convicted unless all twelve jurors voted unanimously for
conviction.

20. My lawyer has explained to me, and I understand, that if I
went to trial on these charge(s), the Government would have
to produce in open court the witnesses against me, and that
my lawyer could confront and cross-examine them and object to
evidence offered by the Government.

21. My lawyer has further explained to me, and I understand, that
IT have the right to produce witnesses and could offer
evidence in my defense at a trial on these charge(s), and
that I would have the right, if I so chose, to testify on my
own behalf at that trial; but if I chose not to testify, the
jury could draw no suggestion or inference of guilt from that
fact. ,

22. My lawyer has explained to me, and I understand, that if I
plead GUILTY to any charge(s) in this Complaint/Indictment/
Information and the judge accepts my plea, I WAIVE MY RIGHT
TO TRIAL AND THE OTHER RIGHTS SET FORTH IN PARAGRAPHS 18, 19,
20 and 21 ABOVE. I am aware and understand that iff my GUILTY
plea is accepted, there will be no trial and a judgment of
GUILTY will be entered after which, the judge, upon
consideration of my presentence report, will impose
punishment upon me. I understand that if I plead GUILTY, the
judge may impose the same punishment as if I had pleaded "not

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guilty", went to trial and was convicted by a jury.

23. My lawyer has also explained to me, and I understand, that if
I plead GUILTY, I WAIVE MY RIGHT NOT TO INCRIMINATE MYSELF.
I understand that the judge will ask me what I did and I will
have to acknowledge my guilt as charged by setting forth my
actions so that the judge is satisfied that I am, indeed,
guilty. I understand that any statements I make at the time
I plead GUILTY, if untrue and made under oath, can be the
basis of a perjury prosecution against me.

24. My lawyer has informed me, and I understand, that the maximum
punishment which the law provides for the offense(s) charged
in this Complaint/Indictment/Information is:

A MAXIMUM OF S$ years imprisonment and a fine of
$1\S$2 9002 for the offense(s) charged in Count(s)

{ My lawyer has further explained, and I
understand, that there is [no] #8 mandatory minimum
punishment of - years imprisonment and [no] ~4a]
mandatory minimum fine of § © for the offense(s)
charged in Count (s)

I understand that if I plead GUILTY to Count(s) of the
Complaint/Indictment/Information, I face a maximum sentence
on those counts of Ss years imprisonment, plus an
aggregate fine of $g5¢,¢ e%, My lawyer has additionally
explained, and I understand that in addition to or in lieu of
the penalties already discussed, I may be ordered to make
restitution to any victim of the offense and that the Court
may require me to make a restitution in gervices instead of
money or to make restitution to a designated third person or
organization instead of the victim. I understand that in
determining whether to order restitution and the amount of
restitution the Court will consider the amount of the loss
Sustained by any victim as a result of the offense, my
financial resources, the financial needs and earning ability
of my dependents, and any other factors as the Court deems
appropriate.

I understand that I will be assessed $100 for each felony
upon which I am sentenced and $25 for each misdemeanor, if
any.

25. I hereby declare that no officer or agent of any branch of
government, (Federal, State or local), nor my lawyer, nor any
other person, has made any promise or suggestion of any kind
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to me, or within my knowledge to anyone else, that I will
receive a lighter sentence, or probation, or any other form
of leniency if I plead GUILTY. My lawyer has explained, and
I understand, that only the judge may decide what punishment
I shall receive, and that if any person has told me
otherwise, that person is not telling me the truth.

IF A SENTENCING GUIDELINES CASE: Please answer 26 through
34. If not, go directly to 35.

26. I understand that I will be sentenced according to the
Sentencing Guidelines pursuant to the Sentencing Reform Act
of 1984, since my offense(gs) occurred on or after November i,
1987.

27. I have discussed with my attorney how the Sentencing
Guidelines might apply to my case.

28. I understand that the Court will not be able to determine the
sentence for my case until after the Presentence Report has
been completed and both I and the Government have had an
opportunity to read the report and challenge any facts
reported by the probation officer.

29. I further understand that after it has been determined which
guideline range applies to my case, the judge has the
authority to impose a sentence more severe (up to the
statutory maximum) or less severe than the sentence provided
by the guidelines.

30. I understand that the Court may be bound to impose a fine in
accordance with both statutory requirements and the
Sentencing Guidelines.

31. I understand that my plea agreement provides/@@6@8-for ptotie
that under certain circumstances I have waived my right to
appeal or collaterally attack the sentence imposed in this
case.

32. I understand that parole has been abolished and if I am
sentenced to prison I will not be released on parole.

33. I further understand that the Court may impose a term of
supervised release to follow any term of imprisonment and
that any violation of that term of supervised release may
result in an additional term of imprisonment. I understand
that I am subject to a term of supervised release of
years, or not less than 9% year(s) but not more than .3
years.
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34. I understand that I will have no right to withdraw my plea on
the grounds that anyone's prediction as to the guideline
range or expectation of sentence proves inaccurate.

PLEA AGREEMENT

35. I hereby declare that I have not been ferced, coerced or
threatened in any manner by any person to plead GUILTY to
these charge(s). Nor have I been told that if I refuse to
plead GUILTY, other persons will be prosecuted.

36. There [has] (@B82ret)] been a plea agreement entered into
between me and the United States Attorney, by Assistant
United States Attorney Pulp Kuen
(name)

{ ]) The plea agreement does not exist in written form.
The plea agreement does exist in written form. I have
read it or have had it read to me in
(LANGUAGE). My lawyer has explained it to me and I
understand it.

37. The gubstance of the plea agreement is:
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ety eS US ty GO wpe
he tle of Sestmen judze- __
38. My lawyer has explained to me, and I understand, that the
terms of the plea agreement might be unacceptable to the
judge. If the judge does not accept the terms of the

agreement, I understand that I may withdraw my GUILTY plea or
go ahead and plead GUILTY anyway. If, after the judge
infoxms me that the plea agreement is unacceptable, I
continue in my desire to plead GUILTY, I understand that the
disposition of my case may be less favorable than that
proposed in the plea agreement.

39. T believe that my lawyer has done all that anyone could do to
counsel and assist me, AND I AM SATISFIED WITH THE ADVICE AND
HELP MY LAWYER HAS GIVEN ME.

40. I know the judge will not permit anyone to plead GUILTY who
claims to be innocent, and with that in mind and because I am
GUILTY, I respectfully request that the Court accept my plea
of GUILTY and to have the Clerk enter my plea of GUILTY as
follows: .

To Count (s) of this Complaint/Indictment/
Information.

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41. I offer my plea of GUILTY freely and voluntarily and of my
own accord with full understanding of all matters set forth
in the Complaint/Information/Indictment, in this application,
and in the certification of my lawyer which is attached to
this application.

42. I further declare that I wish to waive the reading of the
Complaint /Indictment/Information in open court, and I request
the Court to enter my plea of GUILTY as set forth in

Paragraph 40, above.

43. The following person(s), if any, assisted me in completing
this application: Awl Rrcteby:

I hereby certify that the foregoing information and
statements herein are true. I am aware that if any of the
foregoing statements made by me are wilfully false, I am subject to

punishment.

Signed by me in open court in the presence of my lawyer this
y2 day of — Sanva_y , 2008.
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Defendant”

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CERTIFICATION OF COUNSEL

Pawk rick fils hereby certifies that:

1. I am an attorney at law of the State of lu. S
and have been J[retained.byj [assigned to represent] the
defendant tye Ree , in

2. I have read and fully explained to the defendant the
allegations contained in the Complaint/indictment/
Information.

3. To the best of my knowledge and belief the statements,

representations, and declarations made by the defendant in
the foregoing Application are in all respects accurate and
true.

4. (IF APPLICABLE) In my opinion the defendant's waiver of
indictment by grand jury is voluntarily and knowingly made,
and I recommend to the Court that the waiver be accepted by
the Court.

5. In my opinion the defendant's waiver of reading the
Complaint/Indictment/Information in open court as provided in
Rule 10 is voluntarily and knowingly made, and I recommend to
the Court that the waiver be accepted by the Court.

6. I have explained the maximum and any mandatory minimum
penalty for each count to the defendant. I have explained to
him that he may be ordered to make restitution under the
Victim and Witness Protection Act.

7. (IF A GUIDELINE CASE) I have explained to the defendant that
sentencing will be governed by the Sentencing Guidelines as
established by the Sentencing Commission. I have further
explained how the Guidelines might apply to this offense and
to the defendant.

8. The plea of GUILTY offered by the defendant in Paragraph 40
accords with my understanding of the facts related to me and
is consistent with my advice to the defendant.

9. In my opinion the plea of GUILTY as offered by the defendant
in Paragraph 40 of this Application is voluntarily made with
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understanding of the consequences of the plea. I recommend that
the Court accept the plea of GUILTY.

Signed by me in open court in the presence of the defendant
above named, and after full disclosure of the contents of thig
Certification to the defendant, this ‘}¥ day of Sxencacj
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Attorney for the Defendant

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